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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

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                                                 )
   US DOMINION, INC., et al.,                    )
                                                 )
                                                 )
    Plaintiffs,
                                                 )   Case No. 1:21-cv-02130-CJN
                                                 )
    v.                                           )
                                                 )
   HERRING NETWORK, INC., et al.                 )
                                                 )
                                                 )
    Defendants                                   )
                                                 )

               STAPLE STREET’S MEMORANDUM IN SUPPORT OF ITS
              MOTION TO DISMISS OAN’S AMENDED COUNTERCLAIMS

         In pursuit of claims premised on the false conspiracy theory that William Kennard acted as

a secret agent for Dominion and its parent company, OAN mistakenly sued Staple Street Capital

LLC, an entity that was voluntarily canceled and has been defunct since 2017, as evidenced online

in Delaware’s publicly-available corporate records database.




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        After OAN’s counsel was informed that the entity was defunct and that the entities with an

ownership interest in Dominion are Staple Street Capital II LP and Staple Street Capital II-A LP

(collectively, “Staple Street”), OAN demanded premature document discovery into Dominion’s

ownership (a request which was refused), and OAN filed Amended Counterclaims again naming

the defunct entity as a counter-defendant. To avoid needlessly protracting the dismissal of OAN’s

meritless claims, Staple Street states that it does not object to its substitution for the defunct entity,

and it responds to OAN’s Amended Counterclaims by incorporating the entirety of Dominion’s

Memorandum in Support of its Motion to Dismiss and further stating as follows:

        OAN’s Amended Counterclaims against Staple Street (Counts 3 and 4) are for “tortious

interference,” but the sum total of OAN’s factual allegations—as opposed to legal conclusions—

against Staple Street are that it owns Dominion (Amended Counterclaims ¶ 85-86), that it was

upset by OAN’s coverage of the 2020 election (id. ¶ 8), that it updated its website to remove

references to Dominion and Kennard (id. ¶ 81), and that it made money off Dominion’s settlement

with Fox News (id. ¶¶ 2-5). None of that is even remotely tortious, so OAN’s claims against Staple

Street are premised solely on OAN’s legal conclusion that Kennard was Staple Street’s agent. As

set forth in Dominion’s Motion to Dismiss and incorporated by reference, OAN’s allegations about

Kennard’s relationship with Staple Street would be legally insufficient even if they were true

(which they are not).

        Every other mention of Staple Street in the Amended Counterclaims is part of a formulaic

recitation of the elements in OAN’s “Counts” section. As the U.S. Supreme Court laid out in

describing the standard for a defective complaint: “A pleading that offers labels and conclusions

or a formulaic recitation of the elements of a cause of action will not do. Nor does a complaint

suffice if it tenders naked assertion[s] devoid of further factual enhancement.” Ashcroft v. Iqbal,




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556 U.S. 662, 678 (2009) (internal quotation marks omitted). The Court may as well have been

describing OAN’s Amended Counterclaims. Beyond the woefully insufficient factual allegations

mentioned above, OAN simply recites the elements of causes of action in Counts 3 (tortious

interference with contract) and Counts 4 (tortious interference with business expectancy) by listing

rote elements such as “Staple Street acted with malice, intent, and willful disregard for Herring’s

rights through a wrongful act (Kennard’s fiduciary breach) in attempting to undermine Herring’s

business relationships and destroy the company.” Amended Counterclaims ¶ 174; ¶¶ 167-183.

This is exactly what a complaint cannot do if it is to survive a motion to dismiss. The natural

conclusion from OAN’s insufficient pleading—which has already been amended once—is that

Staple Street is an entirely uninvolved third party that has been sued in a misguided attempt to

manufacture settlement leverage against Dominion. OAN hopes the prospect of wasting Staple

Street’s time and money in discovery will lower the amount OAN must pay Dominion to resolve

its defamation claims.

       Staple Street respectfully requests that OAN’s Amended Counterclaims be dismissed with

prejudice and that the Court give appropriate guidance as to whether Staple Street should seek its

fees and costs.


Date: June 16, 2023

                                                     Respectfully Submitted,

                                                       /s/ Megan L. Meier
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